Case 1:20-cv-01387-AJT-JFA Document 251 Filed 08/12/21 Page 1 of 1 PageID# 8428




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

 CENTER FOR WORKPLACE
 COMPLIANCE,            EQUAL
 EMPLOYMENT ADVISORY COUNCIL,

                        Plaintiff,
                                                      Civil Action No. I:20cv01387(AJT/JFA)
        V.



 LITTLER MENDELSON,P.C., e{ al.

                        Defendants.



                                              ORDER


        For the reasons discussed with the parties and for good cause, all action in this case is

 stayed until October 8, 2021, and the deadline for filing summary judgment motions,the hearing
 scheduled for summary judgment motions on October 13, 2021, and the trial scheduled for

 November 15, 2021 are cancelled. A status conference will be set for Friday, October 8, 2021, at

 10:00 a.m. before the imdersigned. If a stipulated order of dismissal has been filed by Thursday,

 October 7, 2021,the status conference will be cancelled.

        Entered this 12th day of August, 2021.                        ./§/
                                                        John F. Anderson
                                                         United States MaflisUate Judfle
                                                      John F. Anderson
 Alexandria, Virginia                                  United States Magistrate Judge
